Case 1:97-cV-01261-.]DB-STA Document 166 Filed 05/06/05 Page 1 of 3 Page|D 135

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE AT JACKSON

JAM[E HAMILTON, AND WIFE,
BONNIE HAMILTON,

Plaintiffs,

 
   
 

v. No. 1-97»1261-13

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GARY MYERS, AS EXECUTIVE
DlRECTOR OF THE TENNESSEE
WILDLlFE RESOURCES
AGENCY, et al.,

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Defendants.

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GARY ARNETT, SHELLY ARNETT,
and JOHN PAUL ARNETT, by next
friend, GARY ARNETT,

Plaintiffs,

v. N0. 1-9§-1263-]3
GARY MYERS, AS EXECUTIVE
DIRECTOR OF THE TENNESSEE
WILDLIFE RESOURCES
AGENCY, et al.,

\./\\_/\_/\_/\¢.,/\_/\_/\_/\\_/\_/\_/\_/\_/\_/

Defendants.

(FRQ¥@%EB) ORDER GRANTING PLAINTIFFS’ MOTION FOR PERMISSION TO
FILE LATE-FILED BRIEF

Before the Court is Plaintiffs’ Motion for Pennission to File a Late-Filed Brief.

Defendants do not oppose the motion.

For good cause Shown, the Motion is GRANTED.

      
  

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IT IS SO ORDERED thls day ofM ll

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Case 1:97-cV-01261-.]DB-STA Document 166 Filed 05/06/05 Page 2 of 3 Page|D 136
CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of th foregoing has been served upon the

following, via U. S. Mail, postage prcpaid, on this the 1 day of hzf% , 2005.

Robert M. Fargarson Charlcs H. Bamctt

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UN1TE`D sTAETs D1STR1CT OURT WESTENR DISTR1C OF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 166 in
case 1:97-CV-01261 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Kim Koratsky

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Honorable J. Breen
US DISTRICT COURT

